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PROB 12B

(7/93)

                                      United States District Court
                                                   for the
                                         Southern District of Georgia
                                             Statesboro Division                zoag OCT 2 I P11 2: 57
                                 Request for Establishing Payment Schedule
                                                                                    ...........         -
Name of Offender: Ronald Darden Keel                                       Case Number: CR60I-00012-001
Name of Sentencing Judicial Officer:         Honorable B. Avant Edenfield
                                             United States District Judge
                                             For the Southern District of Georgia
Date of Original Sentence:        June 25, 2002
Original Offense:         Possession of a listed chemical with the intent to manufacture a controlled
                          substance
Original Sentence:        97 months imprisonment; 3 years supervised release; $100 special assessment;
                          $7,802 restitution; alcohol/drug testing and/or treatment; financial disclosure; no
                          new lines of credit without approval of probation officer
Type of Supervision:                 Supervised Release
Date Supervision Commenced: March 26, 2009
Assistant U.S. Attorney:             Darrin L. McCullough
Defense Attorney:                    Jason A. Craig (appointed)


                                        PETITIONING THE COURT

 [X]       To modify the conditions of supervision as follows:
           The defendant shall pay minimum payments of $120 a month toward his restitution obligation.



The offender was sentenced by Your Honor on June 25, 2002, following a plea of guilty to the offense of
possession of a listed chemical with the intent to manufacture a controlled substance. Keel was sentenced
to a term of ninety-seven months custody, followed by a three-year term of supervised release. In addition,
restitution was ordered by the Court in the amount of $7,802. At the time of sentencing, no payment
schedule was set by the Court.
On March 26, 2009, Keel was released from custody and began his three-year term of supervised release.
Prior to the commencement of his supervised release term, the offender paid $1,225 towards his restitution
obligation; furthermore, for the past six months, Keel has paid $660 on his restitution obligation, leaving
a current principal balance of $5,917. Keel is currently employed with Hawthorne Suites of Garden City,
Georgia, as a maintenance man, earning $8 an hour while working an average of thirty-five hours a week.
The offender resides with his daughter in Brooklet, Georgia. The probation officer has examined the
offender's financial status and believes that a minimum monthly restitution payment plan of $120 is
appropriate, given Keel's income and other monthly financial responsibilities.
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Prob 12B              Request for Modifying the Conditions or Term of Supervision

Re: Ronald Darden Keel
Case Number: CR601-00012-001
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Our office will continue to monitor the offender's financial situation throughout the period of supervision
and will request increases in the monthly payment schedule if the offender's financial status improves.

                                                                                  submi

                                                              by
Reviewed by:                                                          David Lamb
                                                                    U.S. Probation Officer
                                                                    Date: October 5, 2009

    rfliew
Supervisory U.S. Probation Officer




THE COURT ORDERS:
[]     No Action
[  ]_, The Extension of Supervision as Noted Above
[ Lj- The Modification of Conditions as Noted Above
[]     Other




                                                               B" AvanEdenfield      /
                                                               United States Distriqt Judge
                                                               For the Southern DYstrict of Georgia



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